Case 1:95-cv-00094-TS Document 1077 Filed 03/02/07 PageID.3382 Page 1 of 3




             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION




 THE PROCTER & GAMBLE COMPANY,
 et al.,
          Plaintiffs,                             MEMORANDUM DECISION AND
                                                  ORDER ON P & G’s MOTION IN
                                                  LIMINE NO. 7


                  vs.


 RANDY HAUGEN, et al.,                            Case No. 1:95-CV-94 TS
          Defendants.




      Before the Court is P & G’s Motion in Limine No. 7 to Exclude Evidence that

Defendants Spread the False Satanism Rumor for a Religious or Other Non-Commercial

Purpose. P & G contends that this issue was already determined by the Tenth Circuit.

Defendants contend that it was reserved. As set forth in this Court’s February 6, 2007

Memorandum Decision and Order:1

      [T]he Tenth Circuit adopted a four-part test for determining the “commercial
      advertising or promotion” element of a § 43(a)(1)(B) Lanham Act claim:



      1
       Docket No. 983, Memorandum Decision and Order Granting Plaintiffs’ Motion
for Summary Judgment and Denying Defendants’ Motion for Summary Judgment on
the Lanham Act Claim.

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Case 1:95-cv-00094-TS Document 1077 Filed 03/02/07 PageID.3383 Page 2 of 3




              In order for representations to constitute “commercial
              advertising or promotion” under Section 43(a)(1)(B) [of the
              Lanham Act], they must be: (1) commercial speech; (2) by a
              defendant who is in commercial competition with plaintiff; (3)
              for the purpose of influencing consumers to buy defendant's
              goods or services. While the representations need not be
              made in a “classic advertising campaign,” but may consist
              instead of more informal types of “promotion,” the
              representations (4) must be disseminated sufficiently to the
              relevant purchasing public to constitute “advertising” or
              “promotion” within that industry.

       Reviewing the P & G I, opinion, the Court finds that the Tenth Circuit
       determined, as a matter of law, that the Amvox Messages were commercial
       speech within the meaning of the first part of the four-part test for
       “commercial advertising or promotion.” In contrast, the Tenth Circuit
       declined to reach the fourth element of the four-part test finding that the
       fourth part involved issues of fact.

       In its instructions for remand the Tenth Circuit concluded that the district
       court “improvidently granted summary judgment to [Defendants] on P & G’s
       Lanham Act claim,” and “l[eft] it to the district court to consider whether P &
       G has met those elements of a §43(a) Lanham Act claim “not before us in
       this appeal”—i.e. elements other than the first element of the four-part test.2

       Thus, the Court has already determined that elements other than the first element

of the four-part test remain to be determined by the jury.3 It is true that in the context of

determining the first part of the four-part test, the Tenth Circuit addressed the Amvox

Messages’ “exhortation to eschew purchasing P & G’s products in favor or Amway




       2
       Id. at 4-5 (quoting Procter & Gamble Company v. Haugen (P & G I), 222 F.3d
1262 (10th Cir. 2000)).
       3
       Id. (holding that P & G was entitled to summary judgment that “the Amvox
Messages constituted commercial speech within the meaning of the first part of the
four-part test for determining whether they constitute “commercial advertising or
promotion” under §43(a)(1)(A) of the Lanham Act”)

                                             2
Case 1:95-cv-00094-TS Document 1077 Filed 03/02/07 PageID.3384 Page 3 of 3




Products.”4 Nonetheless, the Tenth Circuit did not decide the third part of the four-part,

nor did this court. Accordingly, evidence will be allowed on the third part of the four-part

test, whether the representation was “for the purpose of influencing consumers to buy

defendant's goods or services.” However, evidence, statement or argument is excluded

on the fact that the Amvox Messages were commercial speech. The difference in the

elements is narrow, but significant. It is therefore

       ORDERED that P & G’s Motion in Limine No. 7 to Exclude Evidence that

Defendants Spread the False Satanism Rumor for a Religious or Other Non-Commercial

Purpose (Docket No. 999) is DENIED.

       DATED March 2, 2007.

                                           BY THE COURT:


                                           ___________________________________
                                           TED STEWART
                                           United States District Judge




       4
           P & G I, at 222 F.3d at 1276.

                                             3
